.Case 3:16-cV-00661-|\/|.]R-SCW Document 112 Filed 01/30/18 Page 1 of 31 Page |D #523

UNTI'ED STATES DISTRICT COURT

for the
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CaseNumber: "0" dial ' MSR.' $CW
(Cler.k’s OEE`u:e will provide)

 

 

 

PmnnF/F¢HWS) X crerme coMPLAmr
pursuant to 42 U.S.C. §1983 {Slale Prisoner)
[J CIVIL RIGHI`S CON[PLAINT
pursuant to 28 US.C. §1331 [Fedeml Priscner)
CI CIV'[l'_. COWLAINT
pursuant to the Federal Tort Claims Act,

28 U.S.C`.. §§1346, 2671-2680, or other law

 

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_ . E,'Ec§bno AHE~'DED COMPLAIMT
L‘- wmsDICTION-

Plaintlff:

A. Plaintiff's mailing address, register number, and present place of
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Defenda.nt #1:

B. Defendant Mzr- H m L A'rohz;o/\J
(a) (Name of Fi:rst Defendarlt)

uNlé/\QL¢N
(v) (Posiu'nn/'nue)

with LWHnowN
(c) (Employer’s Name and Add.rss)

is employed as

 

 

 

At~|:he timethe daim(s) alleged thiscompla.int arose,-was Defendant #1
employed by fhe.&|alzrlo£a.L_QLfed.era.nglerrme_r_¢?_gYes lJ No

lfyour answerisYPS, briefly explaqu M\L\~er-e»`\ l\XUv\\%q N wi\e, mm A
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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 2 of 31 Page |D #524

 

Defenda.nt #2: f
C. Defendant (\\\ N\\".d“l 'f,\\j %\»\=\'\QK is employed as
(Name of Second Defendant)

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(Posilion/Til:le)

with TL\\\ mr 5 D¢ oc~\r \-mvv\' vT» Lorchc,\\¢v\$
(Employer's Na.me and Address)

 

At the time the clajm(s) alleged in this complaint arose, was Defenda.nt #2
employeiby the s_tate, local, or federal government? W`¥es_ _ CI No

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Add.itional Defendant(s] (if any):

D. Using the outline set forth above, identify any additional De.fendant(s).

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 3 of 31 Page |D #525

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 4 of 31 Page |D #526

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 5 of 31 Page |D afl-527

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 6 of 31 Page |D #528

]I. PREVIOUS LA.WSUTI'S

A. Have you begun any other lawsuits in state or federal court relating to
your imprisonment? `MYes CI No

B. If your answer to ”A" is YES, describe each lawsuitin the space below. If
there is more than one lawsuit, you must describe the additional lawsuits
on another sheet of paper using the same outline. Failure to comply with

this provision may result in Ma_rg denial of your complaint
1. Pariies to previous lawsuits:

Plai.niiff(s): %a_m{ d Nv`\“\e%

Defendant(s):
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2. Court (if federal court,.name of the district if state court, name of
the countY): N Dr+|-\¢r n bls'lrl'r:l~ F&cl£ml C_ou.IL+

3. Docket number: \\ _ g\/- q j q 0
4. Na.me of judge bo whom case was assigned: "5°\“-\ '3'_ 'T\r\m\) 'S P\

5. 'I'ype of case (for example: Was it a habeas corpus or civil rights
action?): \,_\wo\._ q$ c_qr P“S

6. Disposition of case (for example: Was the case dismissed? Was it
appealed? Isitsti]l pending?): I+ ,__,n_S nmanéed block +O
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7. Appro)cimate date of filing lawsuit 30 \\

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 8 of 31 Page |D #530

]I[. GRIEVANCE PRO CEDURE

 

 

 

 

 

 

A. rs there e prisoner grievance procedure irr ereirrsaaraen? sigler o Ne
B. Did you present the facts re]au`ng to your complaint in the prisoner
grievance procedure? "Fers I:l No
C. lt your answer is YES,
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2. What was the result? m
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D. lf your answer is NO, explain why not.
)\/ /a
E. lt' there is no prisoner grievance procedure in the institution did you
complain to prison audroriiies? N ja |J Yes CI No
F. lfyour answer is YES,
1. What steps did you take?
N/s.
2. What was the result?
M/ a
G. lt your answer is NO, explain why not
“ ~ - /U/ H _
I-I. Atiach copies of your request for an administrative remedy and any
response you received lt you cannot do so, explain why not
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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 9 of 31 Page |D #531

IV. S'I'ATEMENT OF CLAIM

A_ State here, as briefly as possible, when, where, how, and by whom you feel
your constitutional righis were violated Do not include legal arguments of
citations lt you wish to present legal argumerus or ciiniions, file a separate
memorandum of law. lt you intend to allege a number of related claims,
number and set forth each claim in a separate paragraph lf your claims
relate to prison disciplinary proceedings, attach copies of the disciplinary
charges and any disciplinary hearing summary as exhibits You should also
attach any relevant, supporting documentation

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 10 of 31 Page |D #532

_v_. REQUasr ron RELIEF

State exactly what you want this court to do for you. If you are a state or federal

prisoner and seek relief which affects the fact or duration of your imprisonment (for

examples illegal detention restoration of good time, expungement of records, or

parole], you must Hle your claim on a habeas corpus form, pursuant to 28 U.S.C.

§§ 2241, 2254, or 2255. Copies of these forms are available from the cierk's office
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VI._ ]'URY DEl\/IAND (check one box below)

The plaintiff Mdoes EI does not request a trial by jury.

DECI.ARA'I'ION UN'DER FEDERAL RUI.E OF CIVIL PROCEDURE 11

 

I certify to the best of my knowledge, information, and belief, that this complaint is in full
compliance with Rule ll(a) and 11[b) of the Pederal Rules of Civil Procedure. The
undersigned also recognizes that failure to comply with Rule 11 may result in sanctions.

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City, State, Zip Prisoner Register Number
_ Signature of Attomey (if any)

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 11 of 31 Page |D #533

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 13 of 31 Page |D #535

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 15 of 31 Page |D #537

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 16 of 31 Page |D #538

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 17 of 31 Page |D #539

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 18 of 31 Page |D #540

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 19 of 31 Page |D #541

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 20 of 31 Page |D #542

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 21 of 31 Page |D #543

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 23 of 31 Page |D #545

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 24 of 31 page |D #546

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 25 of 31 Page |D #547

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 26 of 31 Page |D #548
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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 27 of 31 Page |D #549

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Case 3:16-cV-00661-I\/|.]R-SCW Document 112 Filed 01/30/18 Page 30 of 31 Page |D #552

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